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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


    KAREN CLARK and SOFIA MONTANO,                          Civil Action No.

                         Plaintiffs,

         v.                                                 COMPLAINT FOR DECLARATORY
                                                            AND INJUNCTIVE RELIEF
    CLARA CANYON, LLC d/b/a CANYON
    COOLERS,

                         Defendant.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Karen Clark and Sofia Montano (“Plaintiffs”), by and through undersigned counsel, seek

a permanent injunction requiring a change in Clara Canyon, LLC, d/b/a Canyon Coolers’

(“Defendant”) corporate policies to cause its website to become, and remain, accessible to

individuals with visual disabilities. In support thereof, Plaintiffs respectfully assert as follows:

                                         INTRODUCTION

        1.      In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

        The Department [of Justice] first articulated its interpretation that the ADA
        applies to public accommodations’ websites over 20 years ago. This interpretation
        is consistent with the ADA’s title III requirement that the goods, services,
        privileges, or activities provided by places of public accommodation be equally
        accessible to people with disabilities.1




1
      See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice,
to Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018) (available at
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       2.       Sofia Montano is legally blind. Ms. Montano has retinitis pigmentosa, which is a

group of inherited disorders that cause degeneration of the retina and vision loss. Ms. Montano

has progressively lost her vision since childhood and is now blind. Today, Ms. Montano uses

screen readers, including the built-in Voiceover capability of her iPhone, combined with JAWS

and NVDA software, to navigate the internet

       3.       Plaintiff Karen Clark is totally blind. Two weeks after Ms. Clark’s twelfth

birthday, she was hit by a car. Both of Ms. Clark’s optic nerves detached in the accident, and she

has been completely blind ever since. Ms. Clark uses VoiceOver for her iPhone 8 and JAWS to

navigate the internet.

       4.       Screen reader “software translates the visual internet into an auditory equivalent.

At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6 (E.D.N.Y. Dec. 21, 2017) (J. Weinstein).

Specifically,

       The screen reading software uses auditory cues to allow a visually impaired user
       to effectively use websites. For example, when using the visual internet, a seeing
       user learns that a link may be “clicked,” which will bring her to another webpage,
       through visual cues, such as a change in the color of the text (often text is turned
       from black to blue). When the sighted user's cursor hovers over the link, it
       changes from an arrow symbol to a hand.

       The screen reading software uses auditory—rather than visual—cues to relay this
       same information. When a sight impaired individual reaches a link that may be
       “clicked on,” the software reads the link to the user, and after reading the text of
       the link says the word “clickable.”…Through a series of auditory cues read aloud
       by the screen reader, the visually impaired user can navigate a website by
       listening and responding with her keyboard.




https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf)          (last
accessed May 6, 2019).
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Id. at *6-7.2

         5.      Defendant Canyon Coolers boasts on its website that “There’s no other premium

cooler company in the world that matches our lifetime, no-fault, no-hassle warranty. We offer

that both because we believe in the quality of our products, but more importantly because we

believe in the value of relationships… .”3

         6.      Consumers may purchase Defendant’s products online at

www.canyoncoolers.com (“Website”), a website the Defendant owns, operates, and controls.4

         7.      Defendant’s Website allows consumers to research and purchase Defendant’s

products from the comfort and convenience of their own homes, contact customer service,

review important notices like Defendant’s Privacy Policy and Returns and Exchanges, and

more.5

         8.      Defendant is responsible for the policies, practices, and procedures concerning the

Website’s development and maintenance.

         9.      Unfortunately, Defendant denies approximately 8.1 million6 Americans who have

difficulty seeing access to their Website’s goods, content, and services because the Website is




2
         See American Foundation for the Blind, Screen Readers, available at
https://www.afb.org/node/16207/screen-readers (last accessed May 6, 2019) (discussing screen
readers and how they work).
3
         Canyon Coolers’ “Story”, available at https://canyoncoolers.com/pages/about-us
 (last accessed April 26, 2019).
4
         Canyon Coolers’ Privacy Policy available at https://canyoncoolers.com/pages/privacy-
policy (last accessed April 26, 2019) (“Protecting your private information is our priority. This
Statement of Privacy applies to https://www.canyoncoolers.com and CLARA CANYON, LLC
and governs data collection and usage.")
5
         Canyon Coolers’ Homepage, available at https://canyoncoolers.com/
 (last accessed April 26, 2019).
6
         Press Release, United States Census Bureau, Nearly 1 in 5 People Have a Disability in the
U.S., Census Bureau Reports Report Released to Coincide with 22nd Anniversary of the ADA (Jul.
25, 2012), available at https://www.census.gov/newsroom/releases/archives/miscellaneous/cb12-
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largely incompatible with the screen reader programs these Americans use to navigate an

increasingly ecommerce world.

       10.     Plaintiffs bring this civil rights action against Defendant to enforce Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”), which requires, among

other things, that a public accommodation (1) not deny persons with disabilities the benefits of

its services, facilities, privileges and advantages; (2) provide such persons with benefits that are

equal to those provided to nondisabled persons; (3) provide auxiliary aids and services—

including electronic services for use with a computer screen reading program—where necessary

to ensure effective communication with individuals with a visual disability, and to ensure that

such persons are not excluded, denied services, segregated or otherwise treated differently than

sighted individuals; and (4) utilize administrative methods, practices, and policies that provide

persons with disabilities equal access to online content.

       11.     By failing to make its Website available in a manner compatible with computer

screen reader programs, Defendant, a public accommodation subject to Title III, deprives blind

and visually-impaired individuals the benefits of its online goods, content, and services—all

benefits it affords nondisabled individuals—thereby increasing the sense of isolation and stigma

among these Americans that Title III was meant to redress.

       12.     Because Defendant’s Website is not and has never been accessible, and because

upon information and belief Defendant do not have, and have never had, adequate corporate

policies that are reasonably calculated to cause its Website to become and remain accessible,

Plaintiffs invoke 42 U.S.C. § 12188(a)(2) and seek a permanent injunction requiring that:




134.html (last accessed May 6, 2019) (“About 8.1 million people had difficulty seeing, including
2.0 million who were blind or unable to see.”).
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 a) Defendant retains a qualified consultant acceptable to Plaintiffs (“Web
    Accessibility Consultant”) who shall assist it in improving the accessibility of its
    Website, including all third-party content and plug-ins, so the goods and services
    on the Website may be equally accessed and enjoyed by individuals with vision
    related disabilities;

 b) Defendant works with the Web Accessibility Consultant to ensure that all
    employees involved in website and content development be given web
    accessibility training on a biennial basis, including onsite training to create
    accessible content at the design and development stages;

 c) Defendant works with the Web Accessibility Consultant to perform an automated
    accessibility audit on a periodic basis to evaluate whether Defendant’s Website
    may be equally accessed and enjoyed by individuals with vision related
    disabilities on an ongoing basis;

 d) Defendant works with the Web Accessibility Consultant to perform end-user
    accessibility/usability testing on at least a quarterly basis with said testing to be
    performed by humans who are blind or have low vision, or who have training and
    experience in the manner in which persons who are blind use a screen reader to
    navigate, browse, and conduct business on websites, in addition to the testing, if
    applicable, that is performed using semi-automated tools;

 e) Defendant incorporates all of the Web Accessibility Consultant’s
    recommendations within sixty (60) days of receiving the recommendations;

 f) Defendant works with the Web Accessibility Consultant to create a Web
    Accessibility Policy that will be posted on its Website, along with an e-mail
    address, live instant messenger, and toll-free phone number to report accessibility-
    related problems;

 g) Defendant directly links from the footer on each page of the Website, a statement
    that indicates that Defendant is making efforts to maintain and increase the
    accessibility of its Website to ensure that persons with disabilities have full and
    equal enjoyment of the goods, services, facilities, privileges, advantages, and
    accommodations of the Defendant through the Website;

 h) Defendant accompanies the public policy statement with an accessible means of
    submitting accessibility questions and problems, including an accessible form to
    submit feedback or an email address to contact representatives knowledgeable
    about the Web Accessibility Policy;

 i) Defendant provides a notice, prominently and directly linked from the footer on
    each page of its Website, soliciting feedback from visitors to the Website on how
    the accessibility of the Website can be improved. The link shall provide a method
    to provide feedback, including an accessible form to submit feedback or an email
    address to contact representatives knowledgeable about the Web Accessibility
    Policy;
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             j) Defendant provides a copy of the Web Accessibility Policy to all web content
                personnel, contractors responsible for web content, and Client Service Operations
                call center agents (“CSO Personnel”) for the Website;

             k) Defendant trains no fewer than three of its CSO Personnel to automatically
                escalate calls from users with disabilities who encounter difficulties using the
                Website. Defendant shall have trained no fewer than 3 of its CSO personnel to
                timely assist such users with disabilities within CSO published hours of operation.
                Defendant shall establish procedures for promptly directing requests for
                assistance to such personnel including notifying the public that customer
                assistance is available to users with disabilities and describing the process to
                obtain that assistance;

             l) that Defendant modify existing bug fix policies, practices, and procedures to
                include the elimination of bugs that cause the Website to be inaccessible to users
                of screen reader technology;

             m) that Plaintiffs, their counsel and their experts monitor the Website for up to two
                years after the Mutually Agreed Upon Consultant validates the Website is free of
                accessibility errors/violations to ensure Defendant has adopted and implemented
                adequate accessibility policies. To this end, Plaintiffs, through their counsel and
                their experts, shall be entitled to consult with the Web Accessibility Consultant at
                their discretion, and to review any written material, including but not limited to
                any recommendations the Website Accessibility Consultant provides Defendant.

       13.      Web-based technologies have features and content that are modified on a daily,

and in some instances an hourly, basis, and a one time “fix” to an inaccessible website will not

cause the website to remain accessible without a corresponding change in corporate policies

related to those web-based technologies. To evaluate whether an inaccessible website has been

rendered accessible, and whether corporate policies related to web-based technologies have been

changed in a meaningful manner that will cause the website to remain accessible, the website

must be reviewed on a periodic basis using both automated accessibility screening tools and end

user testing by disabled individuals.

                                  JURISDICTION AND VENUE

       14.      Defendant attempts to, and indeed does, participate in the Commonwealth’s

economic life by clearly performing business over the Internet. Through its Website, Defendant


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enters into contracts for the sale of their products with residents of Pennsylvania. These online

sales contracts involve, and indeed require, Defendant’s knowing and repeated transmission of

computer files over the Internet. See Access Now Inc. v. Otter Products, LLC, 280 F.Supp.3d 287

(D. Mass. Dec. 4, 2017) (exercising personal jurisdiction over forum plaintiff’s website

accessibility claims against out-of-forum website operator); Access Now, Inc. v. Sportswear, Inc.,

298 F.Supp.3d 296 (D. Mass. 2018) (same).

       15.       As described in additional detail below, Plaintiffs were injured when they

attempted to access Defendant’s Website from their homes but encountered barriers that denied

them full and equal access to Defendant’s online goods, content, and services.

                                              PARTIES

       16.       Plaintiff Karen Clark is and, at all times relevant hereto, has been a resident of

Crawford County, Pennsylvania. Plaintiff is and, at all times relevant hereto, has been legally

blind and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and

the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

       17.       Plaintiff Sofia Montano is and, at all times relevant hereto, has been a resident of

Las Vegas, Nevada and Bristol County, Massachusetts. Plaintiff Montano is and, at all times

relevant hereto, has been legally blind and is therefore a member of a protected class under the

ADA, 42 U.S.C. § 12102(2) and the regulations implementing the ADA set forth at 28 CFR §§

36.101 et seq.

       18.       Defendant Clara Canyon, LLC d/b/a Canyon Coolers is an Arizona domestic for-

profit corporation with its principle place of business at 495 East Brannen Avenue, Flagstaff,

Arizona 86001.




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                          FACTS APPLICABLE TO ALL CLAIMS

       19.     While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods, content, and services for people with

perceptual or motor disabilities, website developers and web content developers often implement

digital technologies without regard to whether those technologies can be accessed by individuals

with disabilities. This is notwithstanding the fact that accessible technology is both readily

available and cost effective.

                                DEFENDANT’S ONLINE CONTENT

       20.     Defendant’s Website allow consumers research and purchase Defendant’s

products from the comfort and convenience of their own homes.

       21.     The Website also enables consumers to contact customer service, join the email

list, and review important legal notices like Defendant’s Privacy Policy.

       22.     Consumers may use the Website to connect with Defendant’s on social media,

using sites like Facebook, Twitter, and Instagram.

                                    HARM TO PLAINTIFFS
       23.     Plaintiff Montano attempted to access the Website from her home in Las Vegas,

Nevada using screen reader technology.

       24.     Plaintiff Clark attempted to access the Website from her home in Pennsylvania

with same screen reader program she normally uses to browse the Internet.

       25.     Unfortunately, because of Defendant’s failure to build its Website in a matter that

is compatible with screen reader programs, Plaintiffs are unable to understand, and thus is denied

the benefit of, much of the content and services they wish to access on the Website. For example:

               a.      The visually presented information for the color swatches cannot be

determined programmatically. All of the color options for the different coolers are presented to

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the user via VoiceOver as “Link, Go to Variant” with no indication as to what this variant is or

that it even has to do with color. Information, structure, and relationships conveyed

through presentationcan be programmatically determined or are available in text:




               b.     The popup modal is not accessible. When the popup becomes available, it

is not given focus; a keyboard-only user must navigate through all content before the popup

content becomes the next focusable element. All functionality of the content is operable through

a keyboard interface without requiring specific timings for individual keystrokes, except where

the underlying function requires input that depends on the path of the user's movement and not

just the endpoints:




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       26.     These barriers, and others, deny Plaintiffs full and equal access to all of the

services the Website offers, and now deter them from attempting to use the Website. Still,

Plaintiffs would like to, and intend to, attempt to access the Website in the future to research the

products and services the Website offers, or to test the Website for compliance with the ADA.

       27.     If the Website was accessible, i.e. if Defendant removed the access barriers

described above, Plaintiffs could independently research and purchase Defendant’s products.

       28.     Though Defendant may have centralized policies regarding the maintenance and

operation of its Website, Defendant has never had a plan or policy that is reasonably calculated

to make its Website fully accessible to, and independently usable by, individuals with vision




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related disabilities. As a result, the complained of access barriers are permanent in nature and

likely to persist.

        29.     The law requires that Defendant reasonably accommodate Plaintiffs’ disabilities

by removing these existing access barriers. Removal of the barriers identified above is readily

achievable and may be carried out without much difficulty or expense.

        30.     Plaintiffs have been, and in the absence of an injunction will continue to be,

injured by Defendant’s failure to provide its online content and services in a manner that is

compatible with screen reader technology.

  DEFENDANT’S KNOWLEDGE OF WEBSITE ACCESSIBILITY REQUIREMENTS
        31.     Defendant has long known that screen reader technology is necessary for

individuals with visual disabilities to access its online content and services, and that it is legally

responsible for providing the same in a manner that is compatible with these auxiliary aids.

        32.     Indeed, the “Department [of Justice] first articulated its interpretation that the

ADA applies to public accommodations’ websites over 20 years ago.” As described above, on

September 25, 2018, Assistant Attorney General Stephen E. Boyd confirmed nothing about the

ADA, nor the Department’s enforcement of it, has changed this interpretation.

         THE PARTIES HAVE NO ADMINISTRATIVE REMEDIES TO PURSUE

        33.     There is no DOJ administrative proceeding that could provide Plaintiffs with Title

III injunctive relief.

        34.     While DOJ has rulemaking authority and can bring enforcement actions in court,

Congress has not authorized it to provide an adjudicative administrative process to provide

Plaintiffs with relief.




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       35.     Plaintiffs allege violations of existing and longstanding statutory and regulatory

requirements to provide auxiliary aids or services necessary to ensure effective communication,

and courts routinely decide these types of effective communication matters.

       36.     Resolution of Plaintiffs’ claims does not require the Court to unravel intricate,

technical facts, but rather involves consideration of facts within the conventional competence of

the courts, e.g. (a) whether Defendant offers content and services on its Website, and (b) whether

Plaintiffs can access the content and services.

                                SUBSTANTIVE VIOLATIONS

                                             COUNT I

                         Title III of the ADA, 42 U.S.C. § 12181 et seq.

       37.     The assertions contained in the previous paragraphs are incorporated by reference.

       38.     Defendant’s Website is a place of public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7).

       39.     In the broadest terms, the ADA prohibits discrimination on the basis of a

disability in the full and equal enjoyment of goods and services of any place of public

accommodation. 42 U.S.C. § 12182(a). Thus, to the extent Defendant does not provide Plaintiffs

with full and equal access to its Website, it has violated the ADA.

       40.     In more specific terms, Title III of the ADA imposes statutory and regulatory

requirements to ensure persons with disabilities are not excluded, denied services, segregated or

otherwise treated differently than other individuals as a result of the absence of auxiliary aids and

services. 42 U.S.C. § 12182(b)(2)(A); 28 C.F.R. §§ 36.303(a), (c). Under these provisions, public

accommodations must furnish appropriate auxiliary aids and services that comply with their

effective communication obligations. Id.



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        41.     Auxiliary aids and services are necessary when their absence effectively excludes

an individual from participating in or benefiting from a service or fails to provide a like

experience to the disabled person.

        42.     Auxiliary aids and services include, but are not limited to, audio recordings,

screen reader software, magnification software, optical readers, secondary auditory programs,

large print materials, accessible electronic and information technology, other effective methods

of making visually delivered materials available to individuals who are blind or have low vision,

and other similar services and actions. 28 C.F.R. §§ 36.303(b)(2), (4).

        43.     In order to be effective, auxiliary aids and services must be provided in accessible

formats, in a timely manner, and in such a way as to protect the privacy and independence of the

individual with a disability. 28 C.F.R. §§ 36.303(c)(1)(ii). To this end, the Ninth Circuit has

explained, “assistive technology is not frozen in time: as technology advances, [ ]

accommodations should advance as well.” Enyart v. Nat'l Conference of Bar Examiners, Inc.,

630 F.3d 1153, 1163 (9th Cir. 2011).

        44.     By failing to provide its Website’s content and services in a manner that is

compatible with auxiliary aids, Defendant has engaged, directly, or through contractual,

licensing, or other arrangements, in illegal disability discrimination, as defined by Title III,

including without limitation:

                (a)     denying individuals with visual disabilities opportunities to participate in

and benefit from the goods, content, and services available on its Website;

                (b)     affording individuals with visual disabilities access to its Website that is

not equal to, or effective as, that afforded others;




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               (c)     utilizing methods of administration that (i) have the effect of

discriminating on the basis of disability; or (ii) perpetuate the discrimination of others who are

subject to common administrative control;

               (d)     denying individuals with visual disabilities effective communication,

thereby excluding or otherwise treating them differently than others; and/or

               (e)     failing to make reasonable modifications in policies, practices, or

procedures where necessary to afford its services, privileges, advantages, or accommodations to

individuals with visual disabilities.

       45.     Defendant has violated Title III by, without limitation, failing to make its

Website’s services accessible by screen reader programs, thereby denying individuals with visual

disabilities the benefits of the Website, providing them with benefits that are not equal to those it

provides others, and denying them effective communication.

       46.     Defendant has further violated Title III by, without limitation, utilizing

administrative methods, practices, and policies that allow its Website to be made available

without consideration of consumers who can only access the company’s online goods, content,

and services with screen reader programs.

       47.     Making its online goods, content, and services compatible with screen reader

programs does not change the content of Defendant’s Website or result in making the Website

different, but rather enables individuals with visual disabilities to access the Website Defendant

already provides.

       48.     Defendant’s ongoing violations of Title III have caused, and in the absence of an

injunction will continue to cause, harm to Plaintiffs and other individuals with visual disabilities.




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       49.     Plaintiffs’ claims are warranted by existing law or by non-frivolous argument for

extending, modifying, or reversing existing law or for establishing new law.

       50.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiffs request relief as set forth below.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for:

       (A)     A Declaratory Judgment that at the commencement of this action Defendant was

in violation of the specific requirements of Title III of the ADA described above, and the

relevant implementing regulations of the ADA, in that Defendant took no action that was

reasonably calculated to ensure that its Website is fully accessible to, and independently usable

by, individuals with visual disabilities;

       (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to bring its Website into full

compliance with the requirements set forth in the ADA, and its implementing regulations, so that

its Website is fully accessible to, and independently usable by, blind individuals, and which

further directs that the Court shall retain jurisdiction for a period to be determined to ensure that

Defendant has adopted and is following an institutional policy that will in fact cause it to remain

fully in compliance with the law—the specific injunctive relief requested by Plaintiffs are

described more fully in paragraph 12 above.

       (C)     A permanent injunction enjoining Defendant from continuing its retaliatory and

coercive conduct;

       (D)     Payment of actual, statutory, and punitive damages, as the Court deems proper;

       (E)     Payment of costs of suit;



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       (F)     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment (see

Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-01898-AJS (W.D. Pa.

Jan. 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing party, may file a fee petition before the

Court surrenders jurisdiction. Pursuant to Pennsylvania v. Delaware Valley Citizens’ Council for

Clean Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987), the fee petition may

include costs to monitor Defendant’s compliance with the permanent injunction.”); see also

Access Now, Inc. v. Lax World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF

11) (same);

       (G)     The provision of whatever other relief the Court deems just, equitable and

appropriate; and

       (H)     An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders.

       Dated: May 7, 2019                         Respectfully Submitted,

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